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                               Schindler’s List (Movie)

Oscar Schindler was a member of the SS party during World War II. He was in the
Enamelware business and had connections higher up in the SS party. Oscar used these
connections to help himself make money. He was selling his enamel ware to the German
Army to use during the war.

Oscar used Jewish labor because it was free. He was able to keep them out of
concentration camps by deeming them essential workers. But it became more to Oscar
than making money. When he could no longer keep is people free he paid his connections
a lot of money to have his people sent to a camp ran by himself.

He made a lit of 800 Jewish people that he had to have working for him. This was as
many people as he thought he could get away with, without the Germans suspecting
something. He paid for each of these people in bribes.

The train, his people were on, didn’t go to his camp. The train took his people to
Auschwitz. As soon as he found out where his people were he went to Auschwitz and
fought to get them back. He was offered the next train load of people to save on
paperwork but Oscar demanded his people. They were returned to a train and taken to his
camp.

They were no longer in the enamel ware business. They were now making ammunition.
The ammunition they made didn’t pass any inspection. Oscar was messing with the
calibration on the machines at night. When the workers became concerned that they may
be sent back to Auschwitz, due to the quality, Oscar started buying ammunition form
other suppliers and passing it off as their own. This reduced the amount of ammunition
the Germans had to fight with.

When it was announced that the was would end at midnight, Oscar gathered his people
together and told them to find what family they may have left. Oscar would now be on
the run because he was a member of the SS party and used slave labor.

At midnight Oscar was given a letter from his people telling what he had done to save
them. Everyone in the camp signed the letter.

There are over 8,500 descendants of the Schindler Jews today.

This movie was very moving. Hard to watch and hard to not watch. It’s hard to believe
there are people who say this never happened.

One of my Sons-in-Law is ½ German. His mother was born in Germany and has never
became an American Citizen. My Son-In-Law doesn’t believe the Holocaust happened
as it did. He says “Only” a million Jews died. One person being killed because of their
faith is too many!
